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                        IN THE   UNITED       STATES DISTRICT            COURT               ^•j3 26 201G     .,u
                                                                                                               \U
                     FOR THE      EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division                                CLEHK, U.S. DISTRICT COURT
                                                                                              RICHMOND. VA


UNITED STATES OF AMERICA


V.                                                Criminal Action No.              3:96CR66

RICHARD ANTHONY THOMAS


                                      MEMORANDUM OPINION


        By Memorandum Opinion and Order entered on August 19,                                      2002,

the     Court     denied   a     28    U.S.C.     §       2255    motion    filed       by    Richard

Anthony Thomas.            (ECF No.           1707,   1708.)           On July 5,         2016,      the

Court     received another            28   U.S.C.     §    2255 motion from Thomas                  that

he filed on the forms for filing a 28 U.S.C.                               § 2244 motion with

the United States Court of Appeals for the Fourth Circuit                                         (''July

5, 2016 § 2255 Motion," ECF No. 1903).

        The Antiterrorism and                 Effective Death            Penalty Act          of    1996

restricted        the     jurisdiction           of   the        district        courts      to     hear

second      or    successive          applications             for     federal    habeas          corpus

relief by prisoners attacking the validity of their convictions

and sentences by establishing a "gatekeeping mechanism."                                          Felker

V.     Turpin,    518    U.S.    651,      657    (1996)         (internal quotation marks

omitted).           Specifically,               [b] efore        a     second     or      successive

application permitted by this section is filed in the district

court,      the    applicant          shall    move       in     the    appropriate          court    of

appeals for an order authorizing the district court to consider

the application."               28 U.S.C.        § 2244(b)(3)(A).                  The Court has
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not     received       authorization       from    the    United      States   Court    of

Appeals       for    the    Fourth Circuit to entertain Thomas's July 5,

2016 § 2255 Motion.                 Accordingly,       June 21,      2016 § 2255 Motion

(ECF No.       1903)   will be dismissed for want of jurisdiction.                      The

Court will deny a certificate of appealability.

        Because Thomas used the forms for filing a                     28 U.S.C.   § 2244

motion with         the     Fourth Circuit,       the    Clerk will     be   directed    to

forward the § 2244 motion and the accompanying memorandum to the

Fourth Circuit.


        The    Clerk       is   directed   to   send    this   Memorandum Opinion        to

Thomas and counsel for the United States.

        It    is   so ORDERED.



                                                               /s/
                                            Robert E.     Payne
                                            Senior United States District Judge

Richmond, Virginia
Date;
